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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

 

| Original Plan
[m] First Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
| Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Tracy Jones JOINT DEBTOR: CASE NO.: 20-15322-LMI
SS#: xxx-xx- 4748 SS#: xxx-xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a

partial payment or no payment at all to the secured creditor [] Included [m] Not included

 

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set

out in Section IIT [m] Included [-] Not included

 

 

 

 

Nonstandard provisions, set out in Section VIII [m] Included [| Not included

 

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

1. $1,634.96 formonths 1 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: CI NONE CT] PRO BONO
Total Fees: $5175.00 Total Paid: $1190.00 Balance Due: $3985.00
Payable $498.13 /month (Months 1 to 8 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$4500 Attorneys Fees + $525 Mtn to avoid Lien + $150 Cost = $5,950

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

Til. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [|] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 

1. Creditor: Chase Mortgage

 

 

Address: Chase Records/Attn: Arrearage/ Payoff on Petition Date $38,001.09
See ee et 555 700 Regular Payment (Maintain) $698.83 /month (Months 1 to 60 )
Kansas Lan Arrears Payment (Cure) ___ $274.50 __—s/month(Months_1_ to 8 »)
Monroe, LA 71203 Arrears Payment (Cure) $688.55 /month (Months 9 to 60 )
Last 4 Digits of
Account No.: 7739
Other:

 

 

 

 

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Debtor(s): Tracy Jones Case number: 20-15322-LMI
[m] Real Property Check one below for Real Property:
[m|Principal Residence [m|Escrow is included in the regular payments
[_ Other Real Property [_|The debtor(s) will pay [_]|taxes [_Jinsurance directly

Address of Collateral:
17454 SW 108 Court, Miami, FL 33157

[_] Personal Property/Vehicle

Description of Collateral:

 

 

 

 

B. VALUATION OF COLLATERAL: [ | NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1. REAL PROPERTY: [mi] NONE
2. VEHICLES(S): [ll] NONE
3. PERSONAL PROPERTY: [ml] NONE

C. LIEN AVOIDANCE [| NONE
[m| Judicial liens or nonpossessory, nonpurchase money security interests securing the claims will be avoided to the extent that

they impair the exemptions under 11 U.S.C. § 522 as listed below. A separate motion will also be served pursuant to BR
7004 and LR 3015-3.

 

 

 

1. Creditor: GE Money Bank nka Synchrony Bank Collateral: 17454 SW 108 Court, Miami, FL 33157
Address: 170 w. Election Rd #125
Draper, UT 84020 Exemption: Art. X. Section 4 Florida Constitution

 

 

Last 4 Digits of Account No.: 3312

 

 

 

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

(m] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

{m| NONE

Iv. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]

A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [lt] NONE

B. INTERNAL REVENUE SERVICE: [lm] NONE

C. DOMESTIC SUPPORT OBLIGATION(S): [m] NONE

D. OTHER: [m] NONE
Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS

A, Pay $84.08 ‘month (Months 9 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. [_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: [li] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[§] NONE

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VII. INCOME TAX RETURNS AND REFUNDS: [_] NONE

[m| The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

VIII. NON-STANDARD PLAN PROVISIONS || NONE
[m™] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

If the debtor receives gambling winnings during the pendency of the plan the debtor shall turn over any
gross winnings to the Chapter 13 Trustee for the benefit of the unsecured creditors.
[] Mortgage Modification Mediation

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

Debtor Joint Debtor
Tracy Jones Date Date
/s/Robert Sanchez, Esq. July 7, 2020
Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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